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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: RAILWAY INDUSTRY                            ) Master Docket Misc. No. 18-798
EMPLOYEE NO-POACH ANTITRUST                        )
LITIGATION                                         ) MDL No. 2850
                                                   )
This Document Relates to:                          )
ALL ACTIONS                                        )


ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENTS
        AND FINAL JUDGMENT AND ORDER OF DISMISSAL

       WHEREAS, Plaintiffs Stephen Baldassano, John Brand, David Escalera, Brian

Lara, and Patricia Lonergan brought claims on behalf of themselves and all similarly

situated persons and have entered into Settlement Agreements with the Defendants;

       WHEREAS, the Knorr Defendants and Wabtec Defendants have entered into

Settlement Agreements dated October 16, 2019 and February 24, 2020, respectively;

       WHEREAS, after a hearing held on March 18, 2020, the Court issued an Order on

March 19, 2020 granting preliminary approval of the Settlement Agreements. Dkt. 262.

In so doing, the Court, inter alia,

       i.      Found that the Settlements were within the range of reasonableness

               meriting possible final approval;

       ii.     Approved the retention of KCC LLC (“KCC”) as Notice Administrator to

               handle any and all aspects of Settlement Administration and Notice of the

               Settlements;

       iii.    Approved the forms of Notice to Class Members and the Notice Plan for

               disseminating those Notices as reasonable, constituting the best notice
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              practicable under the circumstances, and consistent with the requirements

              of due process and Fed. R. Civ. P. 23(e);

       iv.    Conditionally certified a Settlement Class and found that, for settlement

              purposes only, the Settlement Class meets all prerequisites for class

              certification under Rule 23(a) and (b) of the Federal Rules of Civil

              Procedure, including that: (a) the Settlement Class is ascertainable; (b) the

              Settlement Class is so numerous that joinder of all members is

              impracticable; (c) there are questions of law and fact common to the

              Settlement Class; (d) Plaintiffs and their counsel are capable of fairly and

              adequately protecting the interests of the Settlement Class; (e) common

              questions of law and fact predominate over questions affecting only

              individual Settlement Class Members; and (f) certification of the

              Settlement Class is superior to other available methods for the fair and

              efficient resolution of the claims of Settlement Class Members;

       v.     Preliminarily approved the plan of allocation proposed by Plaintiffs; and,

       vi.    Set procedures and schedules for Class Members to assert objections,

              request exclusion, or file claims.

       WHEREAS, on July 17, 2020, Plaintiffs filed a Motion for Final Approval of

Proposed Class Action Settlements and brief in support of same, seeking final approval of

the Settlements pursuant to Rule 23(e) of the Federal Rules of Civil Procedure;

       WHEREAS, on August 26, 2020, the Court held a final fairness hearing (the

“Fairness Hearing” or “Final Approval Hearing”) to adjudicate the fairness,

reasonableness and adequacy of the Settlements;

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       WHEREAS, unless otherwise defined herein, all capitalized terms have the same

meanings as set forth in the Settlement Agreements.

                             26th DAY OF ___________________,
       NOW, THEREFORE, THIS ____                August        2020, IT IS

HEREBY ORDERED AS FOLLOWS:

       1.      The Court has reviewed the terms and conditions set forth in the two

Settlement Agreements, including all exhibits thereto, and finds that they are fair,

reasonable, and adequate under Rule 23(e)(2) of the Federal Rules of Civil Procedure.

The Court finds that the Settlements are in full compliance with all requirements of the

Federal Rules of Civil Procedure, the Class Action Fairness Act, the United States

Constitution (including the Due Process Clause), and any other applicable law.

       2.      Pursuant to In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d

Cir. 2004), the Court finds that a presumption of fairness applies because the Settlements

were negotiated at arm’s length; the Parties were represented by reputable counsel with

substantial class action, antitrust, and complex litigation experience; there was sufficient

formal and informal discovery and the Parties and counsel were knowledgeable about the

facts of the case and potential risks of continued litigation; and no Class Member

objected and only four Class Members opted out.

       3.      The Court also specifically considered the Girsh factors, including the

complexity, expense, and likely duration of litigation; the favorable reaction of the

Settlement Class; the stage of proceedings; the risks of establishing liability, damages,

and class status; and the range of reasonableness of the Settlements in light of the best

possible recovery and attendant risks of litigation. Girsh v. Jepson, 521 F.2d 153, 157



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(3d Cir. 1975). The Court finds that these factors weigh in favor of approving the

Settlements.

       4.      The Court finds that the distribution of Notice as set forth in the

Declaration of Derek Smith of KCC was in compliance with the Court’s March 19, 2020

Order approving proposed notices and the notice plan, and that notice has been given in

an adequate and sufficient manner; constitutes the best notice practicable under the

circumstances; and satisfies Federal Rule of Civil Procedure 23(e) and due process.

       5.      Defendants properly and timely notified the appropriate government

officials of the Settlements pursuant to the Class Action Fairness Act (“CAFA”), 28

U.S.C. § 1715. Further, more than ninety (90) days have elapsed since Defendants

provided notice of the Settlements pursuant to CAFA. Dkt. 251.

       6.      The Court has jurisdiction over the subject matter of this Action and over

all parties to the Settlements, including all absent members of the Settlement Class

certified for purposes of the Settlements.

       7.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

grants final class certification, for settlement purposes only, of the Settlement Class that it

preliminarily certified in paragraph 12 of its March 19, 2020 Order.

       8.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

certifies, for settlement purposes only, the following Settlement Class: All natural

persons who worked in job families in which railway industry experience or skills were

valuable and were employed in the United States by one or more of the following: (a)

from January 1, 2009 through April 3, 2018, Westinghouse Air Brake Technologies

Corporation or its subsidiaries, including Wabtec Railway Electronics, Inc., Railroad

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Controls, L.P., and Xorail Inc.; (b) from January 1, 2009 through April 3, 2018, Knorr

Brake Company LLC or New York Air Brake LLC; or (c) from June 1, 2010 through

April 3, 2018, Faiveley Transport, S.A. or Faiveley Transport North America Inc.

Excluded from the Settlement Class are senior executives and personnel in the human

resources, recruiting, and legal departments of the Defendants. Attached hereto as

Appendix A is the list of job titles in the Settlement Class.

       9.      For avoidance of doubt, the Settlement Class does not include employees

of entities that are not specifically named in paragraph 8, even if they held job titles listed

in Appendix A.

       10.     The Court confirms the appointment of Stephen Baldassano, John Brand,

David Escalera, Brian Lara, and Patricia Lonergan as Settlement Class representatives.

       11.     The Court confirms the appointment of Dean M. Harvey of Lieff Cabraser

Heimann & Bernstein, LLP and Roberta D. Liebenberg of Fine, Kaplan and Black,

R.P.C. as Co-Lead Counsel for the Settlement Class.

       12.     The Court grants final approval of the plan of allocation as being fair,

reasonable, adequate, and in the best interest of the Settlement Class. The Court further

finds that the plan of allocation “treats class members equitably relative to each other” as

required by Federal Rule of Civil Procedure 23(e)(2)(D).

       13.     Accordingly, the Court hereby grants Plaintiffs’ Motion for Final

Approval of Proposed Class Action Settlements. The Settlements are hereby approved in

all respects, and the Parties are hereby directed to implement the Settlements.

       14.     Plaintiffs have notified the Court that four Class Members timely opted

out of the Settlement Class. As set forth in Exhibit D to the Declaration of Derek Smith,

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they are David Corbin, Kyle S. Hagan, Richard Pecone, and Connie Cella. The releases

and other provisions of the Settlement Agreements shall not apply to them. This listing

satisfies the requirement for Class Counsel to set forth an opt-out list within seven (7)

days of the Final Approval Hearing. Dkt. 262 at ¶ 22.

       15.     The Court hereby dismisses the Action as to all Defendants on the merits,

with prejudice, and without taxation of fees or costs except as provided for in the

Agreements.

       16.     This is the Final Judgment as defined in the Settlement Agreements. In

the event that this Final Judgment is not otherwise final and appealable, pursuant to

Federal Rule of Civil Procedure 54(b), the Court finds and directs that there is no just

reason for delaying enforcement or appeal and judgment should be entered.

       17.     Without affecting the finality of this Order and Final Judgment in any

way, this Court hereby retains exclusive and continuing jurisdiction as to all matters

relating to administration, consummation, implementation, enforcement and

interpretation of the Settlements and this Order and Final Judgment, and for all matters

ancillary thereto.



IT IS SO ORDERED.                                 BY THE COURT:




                                                    /s/ Joy Flowers Conti
                                                  The Honorable Joy Flowers Conti
                                                  Senior United States District Judge




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             Appendix A
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                           Wabtec Railroad Employees Class Titles List


1 ‐ Assembly
1 ‐ Clean
1 ‐ Inspection
1 ‐ Line Leader
1 ‐ Seal/Test
1 ‐ Specialty Welder/Subarc
1 ‐ Subarc/Lathe
1 ‐ Subarc/Teardown
1 ‐ Supervisor
1 ‐ Teardown
1 ‐ Technical Advisor
1 ‐ Welder
2 ‐ Buff & Clean
2 ‐ Clean
2 ‐ Supervisor
2 ‐ Teardown
2nd Shift ‐ Subarc/Lathe
ASCTD Manager
ASCTD Technician
ASCTD/G & B Install Technician
Account Receivables Manager
Accountant
Accountant, Cost
Accounting Analyst
Accounting Clerk
Accounting Manager
Accounting Payable
Accounting Specialist
Accounting Specialist/Hourly
Accounts Payable
Accounts Payable Clerk
Accounts Payable Specialist
Accounts Payable, Receivable
Accounts Receivable
Accounts Receivable Clerk
Accounts Receivable Coordinator
Accounts Receivable Specialist
Accounts Receivables Manager
Administrative Manager, RS
Administrator, PTC Field Service
After Market Sales Representative
Aftermarket Bid Estimator
Aftermarket Sales Representative
Air Compressor Technician
Air Compressor Technician Line Leader
Air Dryer TBCA


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                           Wabtec Railroad Employees Class Titles List

Airbrake ‐ BC
Airbrake Foreman
Airbrake/Airdryer ‐ Teardown
Airdryer ‐ TD
Altoona, PA ‐ FST
Analyst
Analyst, Servicenow
Application Developer II
Application Engineer
Application Engineer ‐ SFRTA
Application Engineering ‐ Group Lead
Application Engineering Technician
Area Coordinator
Assembly
Assembly & Test Operator
Assembly ‐ Material Handler Kitter
Assembly I
Assembly II
Assembly III
Assembly Lead
Assembly Specialist
Assembly Technician
Assembly Technician I
Assembly Technician II
Assembly Technician Lead
Assembly/Clean/TD/Test
Assembly/TD/Clean/Initial Inspection
Assembly/Tester
Assistant Controller
Assistant Corporate Controller
Assistant Manager, Sourcing
Assistant Program Manager
Assistant Project Manager
Assistant Signalman
Assistant Team Lead
Assistant Treasurer & Director, Finance
Assistant Treasurer & Director, Tax
Assistant Vice President, Construction
Assistant Vice President, Engineering
Assistant Vice President, IT & App Development
Assistant Vice President, Information Service
Assistant Vice President, Validation
Assistant Wireman
Associate Program Manager
Audit Manager
Audit Manager ‐ Projects
Bid Engineer


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                          Wabtec Railroad Employees Class Titles List

Bids & Estimation Manager
Bms Engineer
Bore Operator
Boring Foreman
Boring Operator
Broing Operator
Budget Analyst
Budget Analyst Part Time
Buff
Buff Or Piston
Building Service Worker
Business Analyst
Business Analyst II
Business Analyst III
Business Intelligence Developer
Buyer
Buyer/Expeditor
CAD Designer III
CAD Engineer
CAD Support Specialist
CAD Technician
CAD Technician I
CAD Technician I ‐ As In Service
CAD Technician II
CAD Technician II ‐ As In Service
CAD Technician III
CAD/Draftsperson
CDL Truck Driver
CNC Machine Operator
CNC Machine Operator I
CNC Machine Operator II
CNC Machine Operator III
CNC Machine Operator/Assembly
CNC Machine Operator/Programer
CNC Machine Programmer
CNC Machinist
CNC Machnist Operator I
CNC Operator
CNC Operator Programmer
CS Account Manager
CS Inside Sales Rep I
Cable Locator
Cable Locator Foreman
Calibration Technician
Cash Application Manager
Cash Application Specialist
Category Manager


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                           Wabtec Railroad Employees Class Titles List

Cell Leader
Cell Operator
Certified Crane Operator
Chemist
Clean
Client Support Specialist
Client Support Specialist I
Client Support Specialist II
Client Support Specialist III
Commodity Buyer
Commodity Purchasing Manager
Communications Engineer
Composite Technician
Compressor Design Engineer
Compressor Line
Compressor Line Lead
Compressor Mechanic
Compressor Teardown
Compressor Teardown & Sub Assembly
Compressor Teardown Line Leader
Compressor Technician
Compressor Technician Line Leader
Compressor Technician Trainer
Compressor Technician, Head Assembly
Compressor Technician, Teardown
Compressor Technician/Special Projects
Compressor/Assembly
Computer Systems Analyst
Contract Administrator
Contracts Manager
Controller
Controller & Manager, Material
Controller, Wabtec Global Service
Coordinator, Accounting
Coordinator, Data Documentation
Coordinator, Facility
Coordinator, Maintenance
Coordinator, Material
Coordinator, Operations & Planning
Coordinator, PTC
Coordinator, Process Engineering
Coordinator, Production
Coordinator, Purchasing
Coordinator, QA & QPS
Coordinator, QPS
Coordinator, QPS & Quality
Coordinator, Quality


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                           Wabtec Railroad Employees Class Titles List

Coordinator, Remanufacturing
Coordinator, Safety
Coordinator, Sales & Marketing
Coordinator, Ship
Coordinator, Ship, Receive
Coordinator, Ship, Receive & Traffic
Coordinator, Warranty Returns
Corporate EHS Compliance Manager
Corporate EHS Training Manager
Cost Accountant
Cost Accounting Manager
Cost Estimator
Coupler Production & Overhaul Lead
Crane Operator
Crewman
Crewman (Lead Man)
Customer Sales & Service Representative
Customer Service Account Manager
Customer Service Administrator
Customer Service Representative
Cycle Counter III
Data Entry Clerk
Database Engineer
Demand Management Analyst
Deputy Project Manager
Deputy Supply Chain Director
Design Drafter
Design Engineer
Design Engineer, Couplers
Designer
Director
Director ‐ Construction
Director Contracts Administration
Director Finance, Freight Service
Director Of Contracts
Director Of Fleet
Director Of In Service Testing
Director Of NPR & I Sourcing
Director Of Sourcing
Director Of Sourcing Electronics Group
Director Quality ‐ Freight
Director Quality – Elastomers, Heat Exchangers & Turbochargers
Director Quality – Freight Service & Mexico
Director, Aftermarket Operations
Director, Application Service
Director, Business Development
Director, Business Systems


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                           Wabtec Railroad Employees Class Titles List

Director, Construction
Director, Continuous Improvement
Director, Corporate Development
Director, Customer Support
Director, Electronics & PTC Aftermarket
Director, Engineering
Director, Engineering Process & Quality
Director, Engineering Quality
Director, Freight Wep/Lean
Director, Global Logistics
Director, Global Supply Chain
Director, In Service Testing
Director, Information Service
Director, Infrastructure & Operations
Director, International Business Development & Operations
Director, Locomotive OEM Sales
Director, Locomotive Service
Director, Marketing
Director, Marketing & Customer Service
Director, Material
Director, Material Management
Director, OE Sales
Director, Operations
Director, Operations & Support
Director, Product Evaluation
Director, Program Management
Director, Project Development
Director, Project Engineering
Director, Project Management
Director, Purchasing
Director, Purchasing & Supply Chain
Director, Quality
Director, Quality Control
Director, Quality, Training & Safety
Director, Safety
Director, Sales
Director, Sales & Marketing
Director, Sales & Marketing For Engine Cooling
Director, Software Development
Director, Software Engineering
Director, Spares & Trading Business Unit
Director, Supply Chain & Customer Service
Director, Supply Chain Logistics
Director, System Engineering
Director, Systems Engineering
Director, Systems Testing
Director, Tax


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                            Wabtec Railroad Employees Class Titles List

Director, Train Control & Communications
Director, Transit Marketing
Director, WGS Service Centers
Document Control/Planning Clerk
Drafter
Drafter II
Dynamometer Technician
EHS Coordinator
EHS Technician
EHS/QPS Coordinator
EOCC ‐ LAithe
EOCC ‐ Shift 1
EOCC ‐ Shift 2
EOCC Production Manager
EOCC Welder ‐ Shift 1
EOT Technician
EPIC/FB Lead Technician
Electrical & Software Engineering ‐ Group Lead
Electrical Designer
Electrical Engineer
Electronic Assembly I
Electronic Assembly II
Electronics Engineer
Electronics Hardware Engineer
Electronics Supervisor
Electronics Technician
Electronics Technician I
Electronics Technician/Passenger Transit
Electronics Technician/TD ‐ BC ‐ Assembly ‐ Test
Embedded Software Engineer
Employee
Engineer
Engineer ‐ Hourly
Engineer, Rams
Engineering Aide
Engineering Analyst
Engineering Assistant
Engineering Assistant I
Engineering Assistant II
Engineering Assistant III
Engineering Change Support
Engineering Clerk
Engineering Designer
Engineering Project Admin I
Engineering Project Manager
Engineering Service Technician
Engineering Specialist


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                            Wabtec Railroad Employees Class Titles List

Engineering Support Associate
Engineering Support Coordinator
Engineering Support Specialist
Engineering Technician
Enterprise Architect
Estimator
Expediter
Expeditor
Fabricator
Facilities Manager/ME/Quality
Facilities Technician
Fellow Engineer
Field Sales Representative
Field Service ‐ Salary
Field Service Engineer
Field Service Representative
Field Service Supervisor
Field Service Technician
Field Service Technician ‐ Amtrak ‐ Chicago
Field Service Technician ‐ Amtrak ‐ LA
Field Service Technician ‐ Denver Eagle
Field Service Technician ‐ MARC
Field Service Technician ‐ Metrolink
Field Signal Electronics Engineer I
Field Signal Test Engineer
Field Signal Test Engineer III
Field Technician
Field Test Engineer
Field Test Technician
Finance Director, Global Treasury
Finance Director, Tax
Financial Analyst
Floater, Ship, Rec.
Foreman
Foreman (Craftworker)
Foreman (Laborer)
Foreman, Composite Technicians
Foreman, Construction
Foundation Brake Lead
Freight & Locomotive Teardown
Freight Assembly
Freight CNC Machine Operator
Freight CNC Machine Operator/Teardown
Freight Line Manager
Freight Teardown
Freight Teardown & Assembly
Freight Teardown Line Leader


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                           Wabtec Railroad Employees Class Titles List

Freight Teardown, Assembly & Test
Freight Test Rack Operator
Freight Test Rack Operator Line Leader
Freight Test Rack Operator/Quality Assurance
GW
GW/TBAT
GW/TBC
GW/TD ‐ BC ‐ Assembly
GW/TD ‐ BC ‐ Assembly ‐ Test
GW/TD ‐ Buff & Clean
General Accountant
General Supervisor
Global Category Manager
Global Commodity Leader
Global Commodity Leader – Indirect Sourcing
Global Project Manager
Global Treasury Analyst
Group Controller
Group Controller ‐ Electronics Group
Group Controller ‐ Frieght Group
Group Controller ‐ Shared Service
Group Leader
Group Leader, Operative
Group Leader, QPS
HSE Supervisor
HVAC Lead Technician
HVAC Mechanical Engineer III
HVAC Technician
HVAC Technician III
HW/SW Lead Engineer
Head Assembly
Head TD/Clean Head Assy
Heat Exchanger Shop Foreman
Hoses
Hydraulic Manufacturing Director
Hydraulics Design Engineer
Hydraulics Lead Engineer
Hydraulics Lead Technician
Incoming Inspector
Industrial Customer Service Manager
Industrial Engineer
IngéNieur SystèMe
Inside Sales Account Manager
Inspector
Inspector (Technicians)
Inspector A
Inspector B


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                            Wabtec Railroad Employees Class Titles List

Integration Test Manager
Internal Auditor
Inventory & Warehouse Clerk
Inventory Control Analyst
Inventory Control Clerk
Inventory Control Specialist
Inventory Coordinator
Inventory Cost Manager
Inventory Specialist
Inventory Technician
Junior Designer I
LSTR Project Technician
Laboratory Specialist A
Laboratory Technician
Lathe
Lathe/Test
Lead AGTU Engineer
Lead Assembly
Lead Assembly Technician
Lead Buyer
Lead Composite Technician
Lead Construction Inspector
Lead Controls Engineer
Lead Crewman
Lead Data Analyst
Lead Engineer
Lead Engineer ‐ Foundation Brakes
Lead Engineer – Couplers
Lead Engineer – Pneumatic Controls
Lead Engineer, Advance Engineering
Lead Engineer, Bogie Brakes
Lead Engineer, Test Lab
Lead Engineering
Lead Field Engineer
Lead Field Service Technical Representative
Lead Man
Lead Manufacturing Technician
Lead Material Handler (Craft Workers)
Lead Material Technician
Lead Mechanical Engineer
Lead PTC Installer ‐ Shortline
Lead PTC Product Support Analyst
Lead PTC Technician
Lead Painter
Lead Pneumatics Engineer
Lead Production Associate
Lead Project Coordinator


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                           Wabtec Railroad Employees Class Titles List

Lead Proposal Engineer
Lead Senior Systems Engineer
Lead Ship & Receive
Lead Signal Test Engineer
Lead Systems Analyst
Lead Systems Engineer
Lead Systems Trainer
Lead Technician
Lead Test Engineer
Lead Tool & Die Technician
Lead Wireman
Lead, Engineering
Leadbuyer
Leader, Planner/Expediter A
Line Lead
Line Lead, Assembly
Line Lead, Test Rack
Line Lead, Test/Fail Analysis
Line Leader Parts/Material Handler
Loco/Buff & Clean
Loco/Buff Or Piston
Loco/TD ‐ Buff & Clean
Locomotive Assembly
Locomotive Line Leader
Locomotive Line Manager
Locomotive Operator
Locomotive Teardown
Locomotive Teardown & Assembly
Locomotive Test
Locomotive Test Rack Operator
Logistics Coordinator
Logistics Coordinator/Supervisor
Logistics Specialist
MRR Coordinator
Machine Operator
Machine Programmer
Machining Operations Manager
Machining Performance Engineer
Machinist
Machinist (Craft Workers)
Machinist (Operatives)
Maintenance
Maintenance Assistant
Maintenance Associate
Maintenance Manager
Maintenance Mechanic
Maintenance Operator


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                         Wabtec Railroad Employees Class Titles List

Maintenance Supervisor
Maintenance Technician
Maintenance Technician (Craft Workers)
Maintenance Technician (Technicians)
Maintenance Technician II
Maintenance Technician Leader
Maintenance Worker (Craft Worker)
Maintenance Worker (Operatives)
Manager
Manager ‐ Billing, Construction
Manager ‐ Hourly
Manager Of Accounting
Manager Of Construction Operations
Manager Tool Design
Manager, Accounting
Manager, Advanced Engineering
Manager, After Market Business
Manager, After Market Engineering
Manager, Aftermarket Service
Manager, Assembly Operations
Manager, Assembly Production
Manager, Billing & Accounts Receivable
Manager, Brake Product Engineering
Manager, Business Analyst
Manager, Business Development
Manager, Business Operations
Manager, Business Planning & SC
Manager, CAD
Manager, CS Inside Sales
Manager, CS Regional
Manager, Communications
Manager, Communications Systems
Manager, Construction
Manager, Contracts
Manager, Corporate Accounting
Manager, Corporate Communications
Manager, Corporate Quality
Manager, Coupler Product Engineering
Manager, Credit, Cost Estimator, Senior
Manager, Customer Service
Manager, Customer Service & Pricing
Manager, Customer Service & Project Manager
Manager, Deputy Project
Manager, Design Engineering
Manager, Drafting
Manager, EHS
Manager, Electronic Product Service


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                         Wabtec Railroad Employees Class Titles List

Manager, Embedded Systems
Manager, Embedded Systems Engineering
Manager, Engineering
Manager, Engineering & Fields Service
Manager, Engineering & Production
Manager, Engineering & QPS
Manager, Engineering & Quality Assurance
Manager, Engineering Service
Manager, Engineering Support
Manager, Environmental, Health & Safety
Manager, Field Service
Manager, Field Service & Training
Manager, Field Service Engineering
Manager, Financial Compliance
Manager, Global Category
Manager, Global Enterprise Architecture
Manager, Global Trade
Manager, Health, Safety & Environmental
Manager, Hydraulics
Manager, Infrastructure ‐ Americas
Manager, Lab
Manager, Logistics
Manager, Logistics & Production
Manager, Machine, Fabrication & Welding
Manager, Machining
Manager, Machining Operations
Manager, Maintenance
Manager, Manufacturing
Manager, Manufacturing Engineering
Manager, Manufacturing Engineering & Maintenance
Manager, Marketing
Manager, Marketing Communication
Manager, Marketing/Sales Application
Manager, Material
Manager, Material Control
Manager, Material Lab
Manager, Mechanical Engineering
Manager, Mfg. Engineering & Facilities
Manager, New Product Development
Manager, OEM Marketing
Manager, Operation
Manager, Operations
Manager, Operations & Production
Manager, Operations & Support ‐ West
Manager, PTC Operations
Manager, Parts
Manager, Planning


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                          Wabtec Railroad Employees Class Titles List

Manager, Plant Engineering
Manager, Pricing, Proposal & Customer Service
Manager, Process Improvement
Manager, Procurement
Manager, Product Design
Manager, Product Line
Manager, Production
Manager, Production ‐ VBI
Manager, Production Machining, Fabrication & Welding
Manager, Production Planning
Manager, Production Shop
Manager, Project Controlling
Manager, Project Engineering
Manager, Project Quality
Manager, Purchasing
Manager, Purchasing ‐ Hourly
Manager, QPS
Manager, QPS & Safety
Manager, Quality
Manager, Quality Assurance
Manager, Quality Assurance/QPS
Manager, Quality Performance Systems
Manager, Rams/LCC
Manager, Regional Field Service
Manager, Regional Sales
Manager, Reject
Manager, Safety
Manager, Safety & IP
Manager, Safety Assurance
Manager, Sales
Manager, Sales & Service
Manager, Sales Central Region
Manager, Sales Eastern Region
Manager, Sales Western Region
Manager, Senior Project Manager
Manager, Senior Supplier Quality
Manager, Service Center
Manager, Service Desk ‐ Americas
Manager, Shop Operations
Manager, Signal Construction
Manager, Software Engineering
Manager, Software Test Engineering
Manager, Sourcing
Manager, Southeast Regional
Manager, Special Projects
Manager, Standards & Special Projects
Manager, Supplier Quality


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                           Wabtec Railroad Employees Class Titles List

Manager, Supply Chain
Manager, Supply Chain ‐ Vapor Bus International & Ricon Corporation
Manager, System Engineering
Manager, Systems Engineering
Manager, Systems Infrastructure
Manager, Systems Safety Engineering
Manager, Systems Testing
Manager, Tax
Manager, Technical
Manager, Technical Documentation
Manager, Technical Project
Manager, Technical Sales & Marketing
Manager, Technical Sales & Service
Manager, Technical Service
Manager, Technical Support
Manager, Technical Training
Manager, Technician Pubs
Manager, Test Engineering
Manager, Transit PTC Operations
Manager, Transit Sales & Service
Manager, Transit Sales ‐ North America
Manager, WGS Compressor Product Lines
Manager, WGS Transit Service
Manager, Wabtec Performance Systems
Manager, Warehouse
Manufacturing ‐ Hourly Direct
Manufacturing Analyst
Manufacturing Engineer
Manufacturing Engineer/Coordinator, QPS
Manufacturing Engineering Analyst
Manufacturing Engineering Specialist
Manufacturing Engineering Technician
Manufacturing Supervisor
Manufacturing Technician
Manufacturing Technician ‐ Lead
Manufacturing Tool Crib Technician
Marketing Analyst
Marketing Assistant
Marketing Specialist
Master Planner
Master Scheduler
Material & Planning Supervisor
Material Associate II
Material Clerk
Material Clerk II
Material Coordinator
Material Expediter


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                           Wabtec Railroad Employees Class Titles List

Material Expeditor
Material Handler
Material Handler (Craft Workers)
Material Handler (Laborer)
Material Handler (Operatives)
Material Handler III
Material Handler Lead
Material Handler Rec I
Material Handler Rec II
Material Handler Ship I
Material Handler Ship II
Material Handler/Oiler
Material Handler/Parts/Inventory
Material Inventory Specialist
Material Lead
Material Manager I
Material Planner
Material Planning Specialist
Material Technician
Material Technicians
Mechanic
Mechanic (Craft Worker)
Mechanic (Operatives)
Mechanic Fabricator
Mechanical Assembly I
Mechanical Assembly II
Mechanical Assembly Senior
Mechanical Design Engineer
Mechanical Designer
Mechanical Engineer
Mechanical Engineer II
Mechanical Technician
Methods & Industrialization Manager
Methods Engineer
Midwest/Southwest Sales & Service Manager
Mill Room Assistant
Mill Room Operator
Mixer Operator
Mixer/Prep Operator Assistant (Punch, Flashcut Weigh ‐ Up)
Mixer/Prep Operator Assistant (Punch, Flashcut Weigh ‐ Up, Std. Build)
Mixer/Prep Operator Assistant (Punch, Flashcut, Standard Build, Weigh ‐ Up)
Mixer/Prep Operator Assistant (Punch, Flashcut, Weigh ‐ Up)
Mixer/Prep Operator Assistant (Punch, Flashcut, Weigh ‐ Up, Standard Build)
Mixer/Prep Operator Assistant (Punch, Flashcut, Weigh ‐ Up, Std. Build)
Mixer/Prep Operator Assistant Punch, Flashcut Weigh ‐ Up)
Mold Design Technician
Motor Pull/Paint


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                           Wabtec Railroad Employees Class Titles List

Multi Service Operator
NPR & I Buyer
NPR Buyer
Network Application Developer
Network Engineer
OBS
OBS ‐ NICTD
OBS ‐ SFRTA
OBS ‐ Sunrail
OBS Technician ‐ MARC
Onboard Support Technician ‐ Ace
Onboard Support Technician ‐ Caltrain
Onboard Support Technician ‐ Regional PTC
Onboard Support Technician ‐ SFRTA
Operations & Maintenance Manager
Operations & Planning Coordinator
Operator
Operator (Craft Workers)
Oracle Application Developer II
Oracle Application Developer III
Oracle Application Lead Developer
Oracle Developer
Oracle Development Project Lead
Oracle Service Specialist
Order Correspondent A
PCB Design Lead
PTC Application Engineer
PTC Application Engineer Technician
PTC Application Engineer Technician ‐ SFRTA
PTC FST ‐ (Trainer)
PTC FST ‐ Kansas City
PTC FST ‐ Selkrik, Ny
PTC Field Service ‐ CSX ‐ TN
PTC Field Service Technician
PTC Help Desk Analyst
PTC Installation Manager
PTC Installation Manager ‐ LA
PTC Installer
PTC Installer ‐ Fort Worth
PTC Installer ‐ LA
PTC Installer ‐ LAJ
PTC Installer ‐ MARC
PTC Installer ‐ Regional PTC
PTC Installer ‐ SFRTA
PTC Installer ‐ Shortline
PTC Installer ‐ Sunrail
PTC Intaller


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                         Wabtec Railroad Employees Class Titles List

PTC Intaller ‐ Shortline
PTC Integration Engineer
PTC Integration Engineer ‐ Brazil
PTC Integration Engineer ‐ Hourly
PTC Integration Trainer
PTC Lead Installer
PTC Lead Installer ‐ Shortline
PTC Lead Installer ‐ Sunrail
PTC Manager
PTC Onboard Support Technician
PTC Operations Manager
PTC Product Support Analyst
PTC Project Manager
PTC Repair Technician
PTC Support Technician ‐ NS Support
PTC System Integration Engineer
PTC Systems Instructor
PTC Technical Trainer
PTC Technician
PTC Technician ‐ Regional PTC
PTC Technician ‐ Shortline
PTS & Freight DB Supervisor
Packer
Paint/Final Inspection
Paint/Final Inspection/Clean
Painter
Painter & Test
Painter (Craft Workers)
Painter I
Painter II
Parts Coordinator ‐ Compressor Line
Passenge Transit Teardown & Assembly
Passenger Test Rack Operator
Passenger Transit Assembly
Passenger Transit Teardown
Passenger Transit Teardown & Assembly
Passenger Transit Teardown Technician
Passenger Transit Teardown/Assembly
Passenger Transit Technician
Passenger Transit Test Rack Operator
Piston TB
Piston TBAT
Piston Teardown Operator
Piston Test
Piston/All
Piston/Buff
Piston/TD ‐ BC ‐ Assembly


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                            Wabtec Railroad Employees Class Titles List

Piston/TD ‐ BC ‐ Assembly ‐ Test
Planner
Planner/Expediter A
Planner/Expediter B
Planner/Expeditor
Planner/Scheduler
Planning Assistant
Plant Manager
Plant Performance Director
Plate Prep Operator
Portal/Web Developer III
Power & Information Systems Leader
Prep Operator (Calender, Extrude, Mixer, Mills)
Prep Operator (Calender, Extrude, Mixer, Mixer Mills)
Press Brake Operator II
Press Brake Operator III
Press Operator (1000T, 1650T, Stretch
Press Operator ‐ (McNeil, Rdfl)
Press Operator ‐ (McNeil, Small Desma, Pentaject)
Press Operator ‐ 1000T, 1650T, Stretch
Press Operator ‐ 4 ‐ Press, 5 ‐ Press, Platen
Press Operator ‐ LArge Desma
Press Operator ‐ McNeil, Small Desma, Pentaject
Press Operator ‐ Rubber Demand Flow Line
Press Operator Check Valve
Press Operator Hinge Press
Press Operator Large Injection
Press Operator Large Platen
Press Operator McNeil Small Desma Pentaject
Press Operator Ring Lathe
Press Operator Rubber Demand Flow Line
Press Operator Small Injection
Press Operator Small Platen
Press Opertor Small Platen
Pricing Manager
Principal Architect
Principal Data Scientist
Principal Engineer
Principal Field Test Engineer
Principal Mechanical Engineer
Principal Product Engineer Crb
Principal Quality Engineer
Principal Safety Engineer
Principal Software Architect
Principal Software Engineer
Principal Software Test Engineer
Principal Systems Engineer


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                            Wabtec Railroad Employees Class Titles List

Principal Systems Safety Engineer
Principal Test Engineer
Process Engineer
Process Quality Supervisor
Procurement Agent
Product Application Specialist
Product Data Analyst
Product Engineer
Product Engineering Technician
Product Line Engineer
Product Line Manager
Product Line Systems Engineer
Product Manager
Product Manager, HVAC
Product Support Manager
Production & Electronics Technician
Production Assembly
Production Associate
Production Clerk
Production Coordinator
Production Lead
Production Line Lead
Production Line Leader
Production Line Leader ‐ 1st Shift
Production Line Leader ‐ MARC
Production Line Supervisor/TD ‐ BC ‐ Assembly ‐ Test
Production Planner
Production Technician
Production Worker
Production Worker (Operatives)
Production Worker A
Production Worker B
Production/Planning Clerk
Program Assistant
Program Manager
Program Manager (Mid ‐ Level Manager)
Program Manager (Professional)
Project Accountant
Project Administrator
Project Administrator I
Project Analyst
Project Assistant
Project Buyer
Project Controller
Project Controlling Manager
Project Coordinator
Project Engineer


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                          Wabtec Railroad Employees Class Titles List

Project Engineer ‐ Ace
Project Engineer ‐ NICTD
Project Management
Project Management ‐ Hourly Direct
Project Manager
Project Manager (Mid ‐ Level Manager)
Project Manager (Professional)
Project Manager ‐ MARC
Project Manager ‐ SFRTA
Project Manager ‐ Sunrail
Project Manager ‐ Track Service
Project Manager I
Project Manager II
Project Manager III
Project Manager Of In Service Testing
Project Manufacturing Engineer
Project Quality Engineer
Project Scheduler
Project Service
Project Specialist
Proposal Manager
Proposal Specialist
Prototype Specialist/Product Development Eng Support
Purchasing Agent
Purchasing Agent II
Purchasing Specialist
QA Analyst II
QA Manager
QA Manager, WGS
QAI ‐ SFRTA
QPS Coordinator
QPS Engineer
QPS Technician
Qualified Crewman
Qualified Crewman Foreman
Quality Analyst
Quality Assurance Analyst
Quality Assurance Engineer
Quality Assurance Inspector
Quality Assurance Inspector ‐ Caltrain
Quality Assurance Inspector ‐ MARC
Quality Assurance Inspector ‐ NICTD
Quality Assurance Inspector ‐ Sunrail
Quality Assurance Specialist II
Quality Assurance Technician
Quality Assurance Technician ‐ MARC
Quality Assurance Technician(Operatives)


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                            Wabtec Railroad Employees Class Titles List

Quality Control Inspector/Auditor
Quality Control Specialist
Quality Engineer
Quality Manager
Quality Specialist
Quality Technician
Quality Test Engineer
Quotes & Proposals Lead
Quotes & Proposals Manager
Quotes & Proposals Specialist
RMA Coordinator
Rams Engineer
Rams/LCC System Engineer
Receive Clerk
Receive Clerk (Administrative Support)
Receive Lead
Receive, Airbrake
Receive, UP
Recor ‐ Teardown
Regional Vice President, International Sales
Relief Foreman
Report Developer
Research & Development Engineer
Responsable Bureau D'Etude Cvs
Rover/Paint
SCM Engineer
Safety & QAI ‐ Sunrail
Safety Engineer
Safety Manager
Safety Manager Of AAF
Safety/QPS Supervisor
Sales & Service Representative
Sales & Service Specialist
Sales Administrator
Sales Director Freight Car
Sales Director Infrastructure
Sales Director Locomotive
Sales Director Train Control
Sales Engineer
Sales Regional Manager
Sales Representative
Scheduler
Senior Accountant
Senior Accountant/Analysis
Senior Advisory Engineer
Senior Analyst
Senior Analyst, Treasury


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                            Wabtec Railroad Employees Class Titles List

Senior Application Engineer
Senior Assembly, Wiring
Senior Bonder
Senior Business Analyst
Senior Buyer
Senior CAD Design
Senior Communications Engineer
Senior Contract Administrator
Senior Cost Accountant
Senior Customer Service Administrator
Senior Design Engineer
Senior Designer
Senior Director, Business Development
Senior Director, Engineering
Senior Director, Office Product Line
Senior Director, Operations & Customer Support
Senior Director, Program Management
Senior Director, Systems Development
Senior Electrical Engineer
Senior Electro Mechanical Assembly
Senior Electronic Assembly
Senior Electronics Engineer
Senior Electronics Engineer I
Senior Electronics Engineer II
Senior Electronics Technician
Senior Engineer
Senior Engineer, Coupler Design
Senior Engineer, Couplers
Senior Engineer, Pneumatics
Senior Engineering Application Specialist
Senior Engineering Designer
Senior Engineering Manager
Senior Engineering Support Specialist
Senior Field Service Representative
Senior Finance Director ‐ Electronics Group
Senior Finance Director ‐ Freight Group
Senior Finance Director ‐ Freight Service Group
Senior Finance Director ‐ Industrial Group
Senior Finance Director, Financial Planning & Analysis
Senior Finance Director, Treasury
Senior Financial Analyst
Senior Global Treasury Analyst
Senior Group Leader
Senior Internal Auditor
Senior Maintenance Technician
Senior Maintenance Test Rack Technician
Senior Manager, Accounting


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                           Wabtec Railroad Employees Class Titles List

Senior Manager, Corporate Accounting
Senior Manager, Corporate Tax
Senior Manager, Electronics Design
Senior Manager, Engineering
Senior Manager, Global Trade
Senior Manager, International Marketing
Senior Manager, Service Desk ‐ Americas
Senior Manager, Software Engineering
Senior Manager, Tax
Senior Manager, Technical Project
Senior Manager, Treasury
Senior Manufacturing Engineer
Senior Manufacturing Engineering Analyst
Senior Manufacturing Engineering Specialist
Senior Material Clerk
Senior Material Estimator
Senior Material Planner
Senior Mechanical Assembly
Senior Mechanical Design Engineer
Senior Mechanical Engineer
Senior Network Engineer
Senior Planner
Senior Principal Engineer
Senior Product Line Engineer
Senior Production Planner
Senior Program Coordinator
Senior Program Manager
Senior Project Accountant
Senior Project Administrator
Senior Project Coordinator
Senior Project Manager (Professional)
Senior Project Manager, Communications
Senior Project Scheduler
Senior Purchasing Specialist
Senior Quality Engineer
Senior Signal Designer
Senior Signal Engineer
Senior Software Architect
Senior Software Design Engineer
Senior Software Engineer
Senior Software Engineer ‐ Group Leader
Senior Software Specialist
Senior Software Test Engineer
Senior Software Test/Verification Engineer
Senior System Integration Test Engineer
Senior System Safety Engineer
Senior Systems & Communications Engineer


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                            Wabtec Railroad Employees Class Titles List

Senior Systems Architect
Senior Systems Engineer
Senior Systems Integration Engineer
Senior Systems Safety Engineer
Senior Tax Accountant
Senior Tax Analyst
Senior Technical Advisor
Senior Technical Project Manager
Senior Technician
Senior Test Engineer
Senior Test Technician
Senior Web Application Engineer
Senior Wiring Assembly
Service Desk Lead
Service Desk Specialist
Service Director
Service Manager
Service Manager ‐ CSX
Service Manager ‐ NS Support
Service Test Engineer
Set Up Operator
Set Up Technician
Ship & Receive Clerk
Ship & Receive Clerk I
Ship & Receive II
Ship & Receive III
Ship Associate
Ship Clerk
Ship Clerk (Administrative Support)
Ship Clerk (EEO ‐ Administrative Support)
Ship Department Line Leader
Ship Lead
Ship Lead ‐ First Shift
Ship, Packer
Ship, Receive
Ship, Receive (Laborer)
Ship, Receive (Operatives)
Ship, Receive Clerk
Ship, Receive Manager
Ship, Receive, Kit, Final Pack
Shop Foreman
Shop Painter
Shop Painter/Freight Teardown
Shop Painter/Freight Test Rack Operator
Signal Construction Inspector
Signal Designer
Signal Designer I


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                           Wabtec Railroad Employees Class Titles List

Signal Designer II
Signal Engineer
Signal Engineer I
Signal Engineer II
Signal Engineer III
Signal Inspector
Signal Inspector II
Signal Test Engineer
Signal Test Technician
Signalman
Single Car Test, Teardown & Assembly
Site Accounting Lead
Small Parcel Ship
Software & Electrical Engineer
Software Developer
Software Engineer
Software QA Analyst I
Software Quality Analyst
Software Quality Assurance Analyst II
Software Technical Associate
Software Test Analyst
Software Test Engineer
Solutions Engineer
Sourcing Specialist
Special Products Assembly
Special Products TBA
Special Products TBC
Special Products TD ‐ BC ‐ Assembly
Special Products Teardown
Special Products Test
Special Products/TD ‐ Buff & Clean
Special Projects Coordinator
Special Projects/Compressor Technician
Specialty Welder/Subarc 1st Shift
Staff Accountant/AP Manager
Strategic Lead For Production & Test Engineering
Sub ‐ Assembly Technician
Sub ‐ Contractor Technical Representative
Sub Arc
Sub Arc/TD/Final Inspection
Sub Components
Sub Components Assy/Test
Subarc/Lathe
Subarc/Lathe ‐ Shift 1
Subarc/Test/Paint/Final Inspection
Supervisor
Supervisor ‐ 1st Shift


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                             Wabtec Railroad Employees Class Titles List

Supervisor ‐ 2nd Shift
Supervisor ‐ BNSF
Supervisor ‐ Compressor Dept
Supervisor ‐ Electronics Dept
Supervisor ‐ Hourly
Supervisor ‐ Locomotive
Supervisor ‐ PTC Support
Supervisor ‐ Passenger Transit
Supervisor ‐ Small Freight, Piston & Slack Adjuster Line
Supervisor Cooler Lines
Supervisor Parts/Inventory Dept
Supervisor QA/Safety & Operations
Supervisor Radiator Lines
Supervisor Ship & Receive
Supervisor, Administration
Supervisor, CNC
Supervisor, Compressor Line
Supervisor, Construction
Supervisor, Customer Service
Supervisor, DO/HVAC/APS
Supervisor, EPIC
Supervisor, Engineering
Supervisor, Engineering Service
Supervisor, Fabrication
Supervisor, Field Service
Supervisor, Freight
Supervisor, Lead
Supervisor, Locomotive & Transit
Supervisor, Locomotive Service
Supervisor, Mainenance
Supervisor, Maintenance
Supervisor, Operations
Supervisor, PTC
Supervisor, PTC Product Support Help Desk
Supervisor, Piston/Slack Adjuster/SCTD
Supervisor, Plant
Supervisor, Production
Supervisor, Production Lead
Supervisor, Quality
Supervisor, Quality Assurance
Supervisor, Quality Test Engineering
Supervisor, Receive
Supervisor, Relays & Contactors
Supervisor, Sash
Supervisor, Service Desk America
Supervisor, Ship
Supervisor, Ship & Receive


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                           Wabtec Railroad Employees Class Titles List

Supervisor, Ship, Customer Service
Supervisor, Shop
Supervisor, Shop ‐ Hourly
Supervisor, Supplier Quality
Supervisor, Test Engineering
Supervisor, Warehouse
Supplier Quality Engineer
Supplier Quality Lead
Supply Chain ‐ Salary
Supply Chain Admin
Supply Chain Engineer
Supply Chain Specialist
Support Engineer
Suprvisor, Durox
Surveyor I
Surveyor II
System Integration Test Engineer
System Safety Engineer
System Test Engineer
Systems Analyst II
Systems Engineer
Systems Engineering Manager
Systems Engineering Technician
Systems Field Inspector 1
Systems Field Inspector I
Systems Integration Engineer
Systems Integration Manager
TBA & Test
TBA, Weld & Test
TD
TD ‐ Assembly
TD ‐ Assembly ‐ Test
TD ‐ BC ‐ Assembly ‐ Test
TD ‐ BC ‐ Assembly ‐ Test/Weld
TD ‐ Test
TD/Initial Inspection/Clean
TDW Operator
Tax Senior
Team Lead ‐ Ship
Team Lead Business Analyst
Team Lead Software Engineer
Team Lead Systems Engineer
Team Leader
Team Leader (Craft Workers)
Team Leader (Operatives)
Team Leader I
Team Leader II


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                            Wabtec Railroad Employees Class Titles List

Team Leader III
Team Leader, Service Parts
Tear Down/Cleaning Operator
Teardown
Teardown, Assembly & Test
Teardown/Initial Inspection
Teardown/Lathe
Technical Advisor
Technical Analyst Service Delivery
Technical Director
Technical Project Manager
Technical Sales Advisor
Technical Service Manager
Technical Service Representative
Technical Specialist
Technical Specialist B
Technical Support Analyst
Technical Trainer
Technical Writer
Technical Writer ‐ Hourly
Technician
Technician ‐ HVAC
Technician I
Technician II
Technician Service Rep
Tender Analyst
Test
Test Engineer
Test Engineering Technician
Test Rack Operator
Test Rack Operator (Craft Workers)
Test Rack Operator ‐ Special Projects
Test Rack Operator Line Leader
Test Technician
Test/Final Inspection
Test/TD/Clean/Paint/Final Inspection
Tester ‐ Airbrake
Testing
Threader
Tool & Die Machinist
Tool & Die Technician
Tool & Model Maker III
Tool & Mold Maker II
Tool Room Technician
Trade Compliance Analyst
Traffic & Material Control Operator
Trainer, Engineering


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                          Wabtec Railroad Employees Class Titles List

Treasurer & Vice President, Tax
Treasury Analyst
Triangle TBA
Triangle/Locomotive Teardown
Triangle/TD ‐ BC ‐ Assembly
Trim (Hand Punch, Cryogenic, Paint Line)
Trim (Hand, Punch, Cryogenic, Paint Line)
Trim (Hand, Punch, Cryogenic, Paint Line) Operator
Trim Operator (Hand, Punch, Cryogenic, Paint Line)
Truck Driver
UX Account Coordinator
Utility Engineer
Utility Operator
Vice President
Vice President ‐ Corporate Initiatives
Vice President ‐ Marketing & Product Planning
Vice President Customer Service, Freight Segment
Vice President Electronics Coe
Vice President Government Relations & Public Affairs
Vice President Line Management/Sales Freight Car
Vice President Locomotive Serv
Vice President Of Compensation & Benefits
Vice President Of Finance, Finance Processes & Systems
Vice President Of Operations
Vice President, CS & Freight Sales
Vice President, Claims Management & Bid Governance
Vice President, Construction
Vice President, Controller
Vice President, Corporate & Freight Quality
Vice President, Corporate Quality
Vice President, Corporate Safety & Environmental Compliance
Vice President, Corporate Strategy
Vice President, Engineering
Vice President, Finance & Global Treasury
Vice President, Finance & Group Controller
Vice President, Financial Planning & Analysis
Vice President, Freight Customer Service
Vice President, Freight Marketing & Sales
Vice President, Integration & Strategy
Vice President, Internal Audit
Vice President, International Business Development
Vice President, Investor Relations
Vice President, Marketing
Vice President, Marketing & Sales Freight Car
Vice President, Marketing & Sales Industrial
Vice President, Marketing & Sales Infrastructure
Vice President, Marketing & Sales Locomotive


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                             Wabtec Railroad Employees Class Titles List

Vice President, Marketing & Sales Train Control ‐ Signaling ‐ Analytics
Vice President, Marketing Freight Segment
Vice President, Operations & Business Development
Vice President, Product Development
Vice President, Program Management
Vice President, Project Management & Bid Governance
Vice President, Quality & Training
Vice President, Quotes & Proposals
Vice President, Rail Service
Vice President, Regional Sales
Vice President, Safety, Environment & Sustainability
Vice President, Sales
Vice President, Sales & Marketing
Vice President, Sales & Marketing, Freight Segment
Vice President, Sales Motivepower
Vice President, Sales North America
Vice President, Train Control
Wabtrax Tester/Support
Warehouse & Distribution Supervisor
Warehouse Clerk
Warehouse Coordinator
Warehouse Lead
Warehouse Worker (Craft Worker)
Warehouse Worker (Laborer)
Warranty & Reliability Engineer
Warranty & Repair Manager
Warranty Administrator
Warranty Manager
Warranty Technician
Warranty Technician, Lead
Web Portal Developer Level II
Welder
Welder (Craft Workers)
Welder (Operatives)
Welder ‐ 1st Shift
Welder ‐ SFRTA
Welder I
Welder II
Welder/Assembly
West Coast Regional Manager
Wireman
Wiring Assembly II
Yard Controller




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                           Knorr Railroad Employees Class Titles List


2nd Shift Supervisor
ABS Controller
ABS Sales & Site Manager
AM, Automation & Controlling Engineer 4
APO Bus Expert/SAP Prod Data Specialist
APU
APU Labor (Genset Builder)
APU Lead
Account Coordinator
Account Manager
Accountant Clerk
Accounting & Tax Specialist
Accounting Clerk
Accounting Clerk 2
Accounting Clerk Sr
Accounts Payable & Receivable Manager
Accounts Payable Clerk
Accounts Payable Clerk 1
Accounts Payable Clerk 2
Accounts Payable Clerk I
Accounts Payable Lead
Accounts Payable Supervisor
Acting Director, Quality (KBC)
Acting Director, Rail Services
Acting Engineering Admin
Acting Program Manager
Adv Calibration
Adv Calibration (HS)
Advanced Manufacturing Engineer
Advanced Manufacturing Engineer 3
Advanced Manufacturing Engr
Advanced Manufacturing Engr Jr
Advanced Manufacturing Manager
Aftermarket Sales Rep
Aftermarket Sales Representative
Air Compressor
Air Compressor Lead
Air Compressor Sandblaster
Air Compressor Tear Down Labor
Air Compressor/Machine Shop Lead
Air Dryer
Air Dryer Lead
Applications Engineer
Applications Engineer 3
Applications Engineer/Dyno Dept. Manager
Applications Engr


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Assembly III
Assembly Test Technician
Assembly Test Technician ‐ Cell Leader
Assistant Controller
Assistant Controller ‐ Premtec
Assistant Controller SBU
Assistant Facility Manager
Assistant Shop Coordinator
Assistant Western Regional Manager
Associate Manufacturing Engineer
Assy I
Assy II
Assy III
Assy lll
BU Controller
BU Manager IFE/HVAC
Batch System Operator
Briquette System Operator
Bus Proc Exp‐Customs & Trade Compliance
Business Process Expert ‐ Materials Mgmt
Business Process Expert ‐ Warehouse Mgmt
Business Stream Manager
Buyer
Buyer 1
Buyer 2
Buyer I
Buyer III
Buyer Planner 2
Buyer Std Commodities
Buyer/Materials Planner
Buyer/Planner 1
Buyer/Planner 1 (KC)
Buyer/Planner 1 (Premtec)
Buyer/Planner 2
Buyer/Planner 3
Buyer/Simulator Support
CAD Drafter 1
CAD Drafter 2
CAD Drafter 3
CCB Loco A&T
CCC Paid Repair Customer Srv
CCC Warranty Administration
Cad Drafter
Cell Expert
Cell Leader
Certified Welder
Chief Engineer


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                           Knorr Railroad Employees Class Titles List

CoC Manager ‐ Doors
CoC‐Engineering Team Lead
Commodity Manager
Commodity Manager 1
Commodity Manager 2
Commodity Manager 3
Commodity Manager 3 ‐ Electronics
Commodity Manager Jr
Commodity Manager, Jr.
Configuration Management Spvr
Configuration Management Supervisor
Contract Administrator
Controller
Controller NYAB
Corporate Customs Compliance Supervisor
Corporate Trans Customs Compliance Mgr
Cost Accountant/Financial Analyst
Cost Analyst
Cost Engineer
Cost Engineer 2
Costing
Credit & Collections Lead
Credit & Collections Manager
Customer SCM Manager
Customer Service /Sales Administrator
Customer Service Administrator
Customer Service Rep
Customer Service Rep 1
Customer Service Rep 2
Customer Service Rep 2, International
Customer Service Rep 2, OE
Customer Service Rep 3
Customer Service Rep 3, OE
Customer Service Representative
Customer Service Representative 1
Customer Service, Lead
Customer Service/Shipping Clerk
Customer Srv Manager
Cyl Machining
Cylinder Machining
DB60 A&T
DB60 Machining
Data Coordinator
Demand Planner Analyst
Dep Director of PUR & Demand Planning
Deputy Director of OE Project Management
Deputy Director of OE Sales


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Deputy Director of Purchasing
Deputy Director of Supply Chain
Deputy Project Director, NYCT
Design Engr
Design Validation Manager
Designer/Checker
Director CoC Brakes
Director Engr Electrical Software
Director Engr Mechanical
Director Engr Product Owners
Director Engr RAMS
Director Engr Sales Systems
Director Engr Services
Director Engr Systems Dev
Director Engr TDS
Director Freight OE Sales
Director International & Loco OE Sales
Director International Sales
Director Marketing & Sales
Director OE Locomotive Sales
Director Of Engineering, TDS Division
Director Operations/Program Management
Director PMO
Director Project Managing & Operations
Director Rail Services
Director Sourcing
Director TDS
Director of Agile Practice
Director of Agile Program Management
Director of Business Unit
Director of Continuous Improvement
Director of Controlling
Director of Controlling and Finance
Director of Doors Business Unit
Director of Finance
Director of Logistics
Director of Manufacturing
Director of Marketing
Director of Meta‐Scrum Product Ownership
Director of Operational Excellence
Director of Operations
Director of Operations and Engineering
Director of Purchasing
Director of Quality
Director of Quality Systems
Director of Rail Services
Director of Sales


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Director of Supply Chain Management
Director, Brakes Business Unit
Director, Business Development
Director, Customer Service
Director, Engineering
Director, Engineering Brakes
Director, Engr Systems Dev
Director, Finance
Director, HVAC Business Unit
Director, Programs
Director, Project Management
Director, Quality
Director, Rail Services
Director, Sales & Marketing
Director, Sales & Systems
Director, Sales & Systems ‐ Engineering
Director, Sales & Systems ‐ Sales
Director, Supply Chain
Document Control Specialist
Documentation Clerk
Domestic & Intl Transportation Clerk
Domestic & Intl Transportation Spec
EP60 A&T
Elec Technician (HS)
Electical Engineer 2
Electrical
Electrical Engineer 2
Electrical Engineer 3
Electrical Engineer 4
Electrical Engr 1
Electrical Engr 2
Electrical Engr 3
Electrical Engr 4
Electrical Engr 5
Electrical Lead
Electrical Technician
Electrician (HS)
Electro‐Mechanical Engineer
Electronic HW Engr 2
Electronic System Engineer
Electronic Systems Engineer
Electronic Systems Engineer Team Leader
Electronic Technician
Electronics Systems Engineer
Electronics Systems Engineering Manager
Electronics Test Technician
Electronics Test Technician (PT)


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                             Knorr Railroad Employees Class Titles List

Embedded Software Engineer Associate
Embedded Systems Developer
Embedded Systyms Developer
Engineer
Engineer, General
Engineer, General (PT)
Engineering Manager
Engineering Support Specialist
Engr Logistics Coord
Engr Prod Data Mgt Supervisor
Engr Production Services Senior Spec
Engr Tools and Configuration Specialist
Expediter
Expediter / Buyer
Fabrication Lead
Facilities Maint Tech & Electrician
Facilities Maintenance Technician
Facilities Manager
Facilities and Logistics Specialist
Facilities and Warehouse Manager
Facilities and Warehouse Specialist
Facility & HSE Lead
Facility Maintenance Electrician
Field Service Applications Specialist
Field Service Applications Supervisor
Field Service Engineer
Field Service Engineer I
Field Service Mechanic
Field Service Rep ‐ Site Supervisor
Field Service Representative
Field Service Site Supervisor
Field Service Specialist
Field Service Specialist 1
Field Service Specialist 2
Field Service Specialist Sr
Field Service Specialist, Senior
Field Service Supervisor
Field Service Technician
Field Service Technician I
Field Service Technician II
Field Service and Sales Manager
Field Service and Sales Specialist
Field Services Specialist 2
Field Srv Application Engr
Field Srv Engr
Field Srv Project Mgr
Field Srv Rep


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                             Knorr Railroad Employees Class Titles List

Field Srv Spec
Field Srv Spec/Inside Sales
Field Srv Technician
Field Support Coordinator
Final Inspector
Finance Admin Generalist/Bookkeeper
Finance Admin Generalist/Bookkeeper 3
Financial Accountant
Financial Analyst
Financial Analyst / IFE
Financial Analyst 1
Financial Analyst I
Fixed Asset & Cost Analyst
Fixture Mechanic
Flex Production
Freight Control Valve
Freight Control Valve A&T
Freight Control Valve A&T ‐ Section Lead
Freight OE Sales Manager
Freight OE Sales Manager, Sr
Fuel Crane
Fuel Cranes Lead
GIS Analyst 1
GIS Analyst 2
GIS Analyst I
GIS Anaylst 1
General Maintenance (HS)
General Maintenance 1 (HS)
General Maintenance Dyno
General Maintenance Leadman
General Maintenance Mechanic
General Maintenance‐1
General Maintenance‐2
General Maintenance‐Tooling Coord
General Shop Labor Nixa
Global Client Services Lead
Global Transportation Specialist
Graphic Designer 2
Group Leader
HSE Manager
HVAC Assembly Technician
HVAC Assembly Test Technician
HVAC CoC Manager
HVAC Electrical System Engineer
HVAC Electrical Systems Engineer
HVAC Electronics Repair Electrician (PT)
HVAC Engineering Coordinator


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                             Knorr Railroad Employees Class Titles List

HVAC Engineering Support Specialist
HVAC General Assembler
HVAC Mechanical Assembler
HVAC Mechanical Designer
HVAC Mechanical Engineer
HVAC Power and Controls Engineer
HVAC Rail Services Manager
HVAC Repair Tech
HVAC Repair Technician
HVAC Strategic Purchasing Specialist
HVAC Supplier Development Specialist
HVAC System Validation Engineer
HVAC Systems Engineer
HVAC Tech ‐ Assembler
HVAC Technician (HS)
HVAC Test Technician
HVAC Test Technician ‐ Cell Leader
Hand Brake
Health Safety & Environmental Manager
Health Safety Environmental Specialist
Health and Safety Specialist ‐ PREMTEC
Health and Safety Specialist ‐ Watertown
Hose Lead
Hose Product Development
Hose Products Sales Manager
Hose Technician 1
Hose Technician 1B
Hose Technician 1C
Hose Technician 2
Hose Technician 2A
Hose Technician 2B
Hose Technician 3
Hose Technician 3A
Hose and Specialty Products Manager
IC Supply Chain Manager
IFE Sales and Systems Manager
IS Manager
Improvement Specialist
In Supply Analyst
In Supply Coordinator Sr
Indirect Buyer
Industrial Engineer
Inside Sales Manager
Inside Sales Representative
Inside Sales/Field Service Technician
Inspection
Interim Manager – Sales and Systems


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                             Knorr Railroad Employees Class Titles List

International Sales & Support Supervisor
International Sales Account Manager
International Sales Representative
Inventory Control ‐ Customer Srv Spec
Inventory Control Clerk
Inventory Control Specialist
Inventory Control Specialist 2
Inventory Spec/Material Coord
Inventory Specialist/Material Coord
Jr Quality Engineer/KPI Specialist
Junior Manufacturing Engineer
Junior Quality Engineer
Junior Technical Illustrator
Junior Technical Writer
KC/KBL Assistant Controller
KPS Champion
KPS Leader
KPS Manager
Kitting Assembler
Lab Technician
Lab Technician 1
Lab Technician 2
Lead HVAC Mechanical Engineer
Lead HVAC Systems Engineer
Lead Inspection
Lead Person
Lead Software Engr
Lead System Engineer
Lead Systems Engineer
Leader, HVAC Mechanical Engineer
Leader, Mechanical Design
Line Feeder
Line Worker
Loco A&T
Locomotive
Locomotive A&T
Locomotive OE Sales Rep
Logistics & Trade Compliance Specialist
Logistics & Warehouse Manager
Logistics Coordinator
Logistics Manager
Logistics Order Administrator
Logistics Spec
Logistics Specialist
Logistics Specialist 2
Logistics Specialist I
Logistics Specialist II


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                          Knorr Railroad Employees Class Titles List

Logistics and Material Analyst
Logistics and Warehouse Supervisor
Lube Mechanic
MRP Controller
Machine Repair
Machine Repair (HS)
Machine Shop
Machine Shop Lead
Machining (HS)
Machinist
Machinist II
Machinist‐Short Cycle
Maint Mech A‐Electrician
Maint Mech A‐Pipe/Plumb
Maintenance
Maintenance Electrical Technician
Maintenance Electrical Technician ‐ 2nd
Maintenance Helper
Maintenance Specialist
Maintenance Technician
Maintenance Technician 2
Maintenance and Reliability Engineer
Manager Aftermarket Sales
Manager Business Development
Manager Corporate Trans Customs Complian
Manager Customer Service
Manager Electronic Engr
Manager Engineering Services
Manager Engineering Test
Manager Engr ABS
Manager Engr Hardware
Manager Engr Loco Sys Dev
Manager Engr Mechanical
Manager Engr Product Data Mgmt
Manager Engr Shared Services
Manager Engr Software
Manager Engr Sustaining
Manager Engr Systems
Manager Engr Systems Quality
Manager Engr Systems Verification
Manager Engr TCS Dev
Manager Engr Tech Pubs
Manager Engr Test
Manager Facilities and Equip Maintenance
Manager Field Service
Manager Freight Systems Engr
Manager In‐Supply


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Manager Locomotive Sales
Manager NPI Programs
Manager OEM Freight Sales
Manager Quality HSE Systems
Manager Sales OE Brakes
Manager Sales and Systems Engr
Manager Systems Engr
Manager of Accounting
Manager of Adv Manuf Engr
Manager of Business Dev/Tech Transfer
Manager of Electronics Engineering
Manager of PMO
Manager of Quality Assurance
Manager of Sales and Project Management
Manager of Software Engineering
Manager, Accounting
Manager, Accounting and Reporting
Manager, Aftermarket Bus. Development
Manager, Business Unit Controller‐Brakes
Manager, Contracts & Logistics
Manager, Cost Accounting
Manager, Document Control
Manager, Engineering Services
Manager, FS North America
Manager, FS Northeast
Manager, FS Northeast & Central
Manager, Facilities
Manager, Maintenance Services
Manager, Manuals & Training
Manager, Material Control
Manager, Mechanical Engineering
Manager, Merak Finance & IT Services
Manager, Operations Brakes & Doors
Manager, Planning & Logistics
Manager, Project & Systems Eng. HVAC
Manager, Purchasing
Manager, Rail Services Sales Logistics
Manager, Sales & Business Development
Manager, Sales Logistics
Manager, Sales and Systems Engineering
Manager, Service
Manager, Shop Operations
Manager, Software & Electr. Engineering
Manager, Supplier Quality
Manager, Supply Chain
Manager, Systems Engineering
Manager, Systems Engineering Doors


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                           Knorr Railroad Employees Class Titles List

Manager, Systems Integration Verificatio
Manager, Tech Pubs & Document Control
Manager, Warehouse
Managing Team Leader
Manufacturing Electronics Engineer
Manufacturing Engineer
Manufacturing Engr
Manufacturing Engr Manager
Manufacturing Master Production Schedule
Manufacturing Services Manager
Marketing Analyst
Marketing Analyst, Senior
Marketing Coord
Marketing Coord 3
Master Scheduler
Material Acquisition Specialist
Material Coord
Material Coord Team Leader
Material Coordinator
Material Expediter
Material Expeditor
Material Handler
Material Handler (PT)
Material Handler 1
Material Handler 2
Material Handling
Material Hnd A
Material Planner
Material Planner Team Lead
Material Planning Team Lead
Material Requirements Planner 1
Material Requirements Planner 2
Material Requirements Planner 3
Materials & Planning Prod Supervisor
Materials Coord
Materials Coord 2
Materials Coord A
Materials Handler 1
Materials Handler 2
Materials Manager
Mechanical Design Engineer
Mechanical Designer
Mechanical Designer, HVAC
Mechanical Development Engr
Mechanical Engineer
Mechanical Engineer 1
Mechanical Engineer 2


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                        Knorr Railroad Employees Class Titles List

Mechanical Engineer Jr.
Mechanical Engineering Team Leader
Mechanical Engr 1
Mechanical Engr 2
Mechanical Engr 3
Mechanical Engr 4
Mechanical Engr 5
Mechanical Engr 5S
Mechanical Systems Engineering Manager
Mgr International Sales and Market Deve
Mgr RAMS
Mgr, Engineering & Strategic Purchasing
Mgr. Indust. Manufacturing Engineering
Mgr. Manufacturing Engineering
Mgr., HVAC Engineer & Strategic Planning
Millwright Maintenance
Mold Press Oper A
Mold Press Operator
NC/PC Machinist (HS)
Nozzle
Nozzle Lead
OE Customer Srv Rep
OE Sales & PM Manager, LRV/Hydraulics
OE Sales & PM Manager, Mainline
OE Sales & PM Manager, Met/E&DMU/Com/HSR
OE/Spare Customer Service
OE/Spare Customer Srv
Off Shift Supervisor
Oil Free Compressor (HS)
On‐Board Systems PM Manager
On‐Board Systems Production Manager
Operations Manager
Operations Manager ‐ Brakes, KPS Manager
Operations Services Supervisor & Planner
Operations Specialist
Owner
Paid Repair CSR
Paint
Painter
Painter ‐ Cell Leader
Peripheral A&T
Peripheral A&T ‐ Shift Lead
Peripheral A&T 1
Peripheral A&T 2
Peripherals A&T 2
Physical Inventory Audit
Planner


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                          Knorr Railroad Employees Class Titles List

Planner & Production Supervisor
Planner/Buyer
Plant Manager
Pneumatic Systems Engineering Team Lead
Preventative Maintenance Coordinator
Pricing Analyst
Principal Engr
Principal Systems Safety Engineer
Process Engineer
Process Engineer ‐ PREMTEC
Process Engineer ‐ Warehouse Operations
Process Engineer 2
Process Engineer 3
Process Engr
Process Improvement Manager
Process Quality Engr
Procurement Project Manager
Procurement Specialist
Product & Quality Systems Leader
Product Data Analyst
Product Data Analyst 1
Product Designer
Product Line Manager
Product Line Manager Sr
Product Line Mgr Sr
Product Quality Engr
Product Quality Engr Sr
Product Quality Manager Sr
Product Quality Manager, Sr.
Production Coordinator
Production Line Manager, Jr.
Production Manager
Production Manager, Freight
Production Requirements Scheduler
Production Specialist
Production Supervisor
Production Supervisor, Locomotive
Production Technician 2
Production Technician 3
Program Coordinator
Program Manager
Program Manager Sr
Program Manager, Ideas @ Work
Project Administrator
Project Controller
Project Controller I
Project Coordinator


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                             Knorr Railroad Employees Class Titles List

Project Coordinator ‐ NYCT
Project Manager
Project Manager ‐ HVAC
Project Manager ‐ NYCT
Project Manager ‐ Selectron
Project Manager 1
Project Manager 2
Project Manager Jr
Project Manager Sr
Project Manager, Ops Planning & Dev
Project Manager/Planner
Project Mgr
Project Portfolio Coordinator
Project Quality Engineer
Project Quality Engineering Supervisor
Project Quality Manager
Proposal Manager
Purchasing
Purchasing Manager
QA Administrator
QA Improvement Associate
QA Inspector/Warehouse Clerk
Quality Assistant
Quality Assurance Lead Auditor
Quality Control
Quality Coordinator
Quality Coordinator 2
Quality Data Analyst
Quality Data Analyst 2
Quality Engineer
Quality Engineer ‐ Brakes
Quality Engineer ‐ Doors & Brakes
Quality Engineer ‐ HVAC
Quality Engineer 2
Quality Engineer 3
Quality Engineer 4
Quality Inspection Supervisor
Quality Inspector
Quality Lab Technician
Quality Lab Technician 2
Quality Lab Technician 3
Quality Manager
Quality Support Specialist
Quality Technician
RAMS Engineer 3
RAMS Engr 1
RAMS Engr 2


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                            Knorr Railroad Employees Class Titles List

RAMS Engr 3
RAMS Engr 4
RAMS LCC Electrical Engr
RMA / NCR
RMA Coordinator
RMA Technician
RMSH Eng Team Leader
RMSH Engineering Manager
RS Account Coordinator
RS Account Manager
RS Bids & Proposals Manager
RS Business Analyst
RS Business Development Manager
RS Engineering Manager
RS Field Service Manager
RS Field Support Engineer
RS Material Coordinator
RS Project Coordinator
RS Project Manager
RS Proposal Specialist
RS Regional Sales Manager
RS Sales Administration Coordinator
RS Sales Engineer
RS Sales Logistics Coordinator
RS Sales Logistics Expeditor
RS Sales Representative
RS Service Center Manager
RS Sr. Project Manager
RS Technical Sales Specialist
RS Technical Services Manager
Rail Service Expeditor
Rail Service Technician
Rail Services Material Coordinator
Rail Services Sales Manager
Receiving Inspection Team Lead
Receiving Inspector
Regional Manager SC FIT Americas
Regional Planning Specialist
Regional Quality Mgr Rail Srv
Regional Sales Manager
Regional Sales Manager Sr
Regional Sales Manager, Senior
Reliability & Quality Manager
Reliability Engineer
Repair Cost & Inventory Analyst
Repair Shop Administrator
Repair Shop Cell Leader


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                            Knorr Railroad Employees Class Titles List

Repair Shop Coordinator
Repair Shop Supervisor
Repair Shop Technician
Repair Shop Technician ‐ Cell Leader
Repair Shop Test Technician
Repair Tech/Warehouse Worker
Repair Technician
Repair Technician 1
Repair Technician 2
Repair Technician 3
Repair Technician, Brakes
SAP Business Process & Innovation Mgr
SBU Business Process Manager
SBU Planning Manager
SBU Production Scheduling Manager
SBU Supply Chain Manager
SC Team Leader
SCE Manager
SCM Administrator
SCM Team Leader/Manager
Safety Manager
Sales & Marketing Coordinator
Sales Administration Coordinator
Sales Coordinator ‐ Aftermarket
Sales Coordinator, OEM Brakes
Sales Engr
Sales Logistics Coordinator
Sales Manager
Sales Manager N. America ‐ Sigma MID
Sandblaster
Scrum Business Analyst
Secondary Ops
Section Lead ‐ Freight Control Valve A&T
Section Leader Freight Control Valve A&T
Section Leader Locomotive A&T
Section Leader Secondary Ops
Section Leader Warehousing
Segment Leader
Semi Metalic Hot Forming Operator
Semi Metalic Laborer / Operator
Semi Metalic Operator
Semi Metallic Laborer / Operator
Semi‐Metallic Hot Forming Operator
Senior Advanced Manufacturing Engineer
Senior Cost & Business Analyst
Senior Cost Analyst
Senior Customer Srv Accts Payable Spec


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                             Knorr Railroad Employees Class Titles List

Senior Design Engr
Senior Designer
Senior Director of Quality & HSE
Senior Electro Mech Packaging Engr
Senior Electronic Hardware Dev Engr
Senior Field Srv Spec
Senior Manager Planning & Logistics
Senior Manufacturing Engineer
Senior Process Engr
Senior Project Manager
Senior Project Manager ‐ HVAC
Senior Quality & HSE Specialist ‐ TDS
Senior Quality & HSE Systems Specialist
Senior Quality Engineer
Senior Quality Technician
Senior Software Engr
Senior Staff Engineer
Senior Supplier Quality Assur Engr
Senior Supply Chain Manager
Senior Systems Engr
Senior Tax Analyst
Senior Techncial Writer
Senior Technical Illustrator
Senior Technical Writer
Senior Technical Writer, Team Leader
Senior Test Engr
Senior Test Technician
Senior Tool Engr
Service
Service Shop
Shift Supervisor
Shipping & Receiving Clerk
Shipping Clerk
Shipping Coordinator
Shipping Coordinator, Team Lead
Shipping Labor
Shipping Lead
Shop Labor Nixa
Six Sigma Black Belt Business Process Im
Software Engineer
Software Engineer 1
Software Engineer 2
Software Engineer 3
Software Engineer 4
Software Engineer 5
Software Engir 3
Software Engr


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Software Engr 1
Software Engr 2
Software Engr 3
Software Engr 4
Software Engr 5
Software Engr 6
Software QA Engineer
Software Quality Assurance, Team Leader
Software Safety Assurance Engr
Sourcing Engineer
Sourcing Specialist
Spares/Sales Administrator
Specialist 1, Quality Technician
Specialist 2, Quality Technician
Specialist Buyer
Specialist Lean
Specialist Maintenance
Specialist Quality Technician
Specialist, Quality Technician
Specialist; Shipping & Receiving
Sr In Supply Coord
Sr Product Quality Engr
Sr Project Manager
Sr Quality Manager
Sr Reliability & Quality Engr
Sr. Accountant
Sr. Buyer
Sr. Field Service Technician
Sr. Field Specialist
Sr. Manager, Locomotive OE Sales
Sr. Project Manager
Sr. Project Mgr
Sr. Quality & Reliability Engr
Sr. Regional Sales Manager
Sr. Supplier Quality Engr
Sr. Supply Chain Engineer
Staff Accountant
Staff Accountant ‐ Merak & IFE
Staff Accountant / HVAC
Staff Accountant 1
Staff Accountant 2
Strategic Purchasing Manager
Sub‐Project Manager
Sub‐Project Manager/Mechanical Engineer
Supervisor
Supervisor Aftermarket Sales
Supervisor Srv Rep


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Supervisor, Customer Service
Supervisor, Graphics & Documentation
Supervisor, Materials
Supervisor, Production
Supervisor, Repair Shop
Supervisor, Warehouse
Supplier Quality
Supplier Quality Assur Engr Sr
Supplier Quality Engineer
Supplier Quality Engineer 1
Supplier Quality Engineer 2
Supplier Quality Engineer Sr
Supplier Quality Engr
Supplier Quality Manager
Supply Chain Analyst
Supply Chain Business Process Manager
Supply Chain Business Process Spc
Supply Chain Business Process Spc‐PTEC
Supply Chain Coordinator
Supply Chain Engineer
Supply Chain Engineer 2
Supply Chain Manager
Supply Chain Manager‐PREMTEC
Supply Chain Material Planner
Supply Chain Supervisor
Supply Chain Tools & Processes Manager
Sustaining Engr
Sys Engr 3
System Test Engr 1
System Test Engr 2
System Test Engr 3
System Test and Commissioning Engineer
Systems Engineer
Systems Engineer 1
Systems Engineer 2
Systems Engineer 3
Systems Engineer 4
Systems Engineer 5
Systems Engineer Doors
Systems Engineer II
Systems Engineer Jr
Systems Engr
Systems Engr 1
Systems Engr 2
Systems Engr 3
Systems Engr 4
Systems Engr 4 Validation


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Systems Engr 5
Systems Engr 6
Systems Engr Manager
Systems Safety Assurance Engr
Systems Team Mgr
Systems Test Engineer 1
Systems Test Engineer 2
Systems Test Engineer 3
Systems Test Engineer 4
Systems Test Engr 1
Systems Test Engr 2
Systems Test Engr 3
Systems Test Engr 4
Systems Test Lab Lead
TDS Assistant Controller
TDS Asst Controller
TDS Site Lead & Sr. Product Line Manager
Tactical Purchasing Manager
Tax Manager
Team Lead ‐ Goods Receiving
Team Lead ‐ High Rack Storage
Team Lead ‐ Kardex
Team Lead ‐ Material Handling
Team Lead ‐ Shipping
Team Leader ‐ Repair and Warranty CSR
Team Leader ‐ Repair and Warrenty CSR
Team Leader CCB Systems Engr
Team Leader CCC
Team Leader Complaint Management
Team Leader Enger IT Infrstructr Dev‐Ops
Team Leader Engr
Team Leader Engr Air Supply
Team Leader Engr Mechanical
Team Leader Engr Services
Team Leader Engr Software
Team Leader Engr Systems
Team Leader Engr Test
Team Leader PMO
Team Leader Process Engr
Team Leader Sales Project Manager
Team Leader Test Engr
Team Leader, Brake Control Sys Test Eng
Team Leader, Mechanical Systems Engineer
Team Leader, Paint Cell
Team Leader, Test Engineering
Team Leader, Warehouse
Team Leaders Engr Mechanical


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                           Knorr Railroad Employees Class Titles List

Tech‐Electronic
Technical Documentation Spec
Technical Documentation Spec 3
Technical Illustrator
Technical Publications Team Lead
Technical Trainer
Technical Writer
Technical Writer 2
Technical Writer 3
Technical Writer/Trainer
Technician 1
Technician 2
Technician 3
Technician 4
Technician, Service
Territory Manager, Mexico
Test & Commissioning Manager
Test Engineer
Test Engineer 1
Test Engineer 2
Test Engineer 3
Test Engineer 4
Test Engineer 5
Test Engineer IV
Test Engr
Test Engr 1
Test Engr 2
Test Engr 3
Test Engr 4
Test Engr 5
Test Engr 5S
Test Tech 1
Test Tech 2
Test Technician
Test Technician 1
Testing Commissioning Manager
Tool/Model Maker ‐ Cell Leader
Toolmaker (HS)
Toolmaker/Model Maker
Toolmaker/Model Maker ‐ Cell Leader
Tools & Processes Manager
Tools&Configuration Engineer Specialist
Trans Export Clerk
Trans/Customs Compliance Business Lead
Transportation Compliance Specialist
Transportation Manager
Truck Driver/Material Handler


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                           Knorr Railroad Employees Class Titles List

VP Engineering
VP Finance & Controlling
VP Marketing and Sales
VP Operations
VP Quality & Program Mgt
VP of Operations
Validation & Test Manager
Vice President, CoC Brakes
Vice President, Contracts
Vice President, Finance
Vice President, On‐Board Systems
Warehouse & Shipping Specialist
Warehouse Clerk 1
Warehouse Clerk 2
Warehouse Clerk Lead
Warehouse Labor
Warehouse Lead
Warehouse Logistics Spec
Warehouse Manager
Warehouse SAP Coord
Warehouse Shipping Lead
Warehouse Supervisor
Warehouse Supervisor II
Warehouse Supervisor, Alt Shift
Warehousing
Warehousing ‐ 1st Shift
Warehousing ‐ 2nd Shift
Warehousing ‐ 3rd Shift
Warehousing ‐ Shift Lead
Warehousing Lead (B‐Core)
Warehousing Section Leader
Warranty Data Analyst
Warranty Data Analyst 2
Warranty Data Analyst 3
Watertown/Premtec Assistant Controller
Welder / Brazer
Western Regional Sales Manager
Wheatland Labor
Wheatland Shop Labor




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